Case 6:19-cv-00481-MJJ-PJH Document 1 Filed 04/16/19 Page 1 of 6 PageID #: 1



                       UNITED STATE DISTRICT COURT
                      WESTERN DISTRICT OF LOUISIANA
                           LAFAYETTE DIVISION

JESUS FONTANILLA                       *        CIVIL ACTION NO.
MAIDELYN CARRERA

VERSUS
                                       *        JUDGE:
ACE AMERICAN INSURANCE
COMPANY, J.B. HUNT
TRANSPORT, INC., AND
DONALD YOUNG                   *    MAGISTRATE JUDGE:__________
__________________________________________________________________

                            ORIGINAL COMPLAINT

        The complaint of JESUS FONTANILLA and MAIDELYN CARRERA, both

citizens, residents and domiciliary of Hialeah, Florida who respectfully represent

that:

                                           1.

        Made defendants herein are:

        ACE AMERICAN INSURANCE COMPANY, a foreign insurance
        company authorized to do and doing business in the State of Louisiana, who
        may be served through the Louisiana Secretary of State, 8585 Archives
        Avenue, Baton Rouge, LA 70809;

        J.B. HUNT TRANSPORT, INC., a foreign corporation authorized to do and
        doing business in the State of Louisiana who may be served through its agent
        for service of process, Corporation Service Company, 501 Louisiana Avenue,
        Baton Rouge, LA 70802; and

        DONALD YOUNG, a person of the full age of majority and a resident of a
        Baldosta, Georgia

                                           1
Case 6:19-cv-00481-MJJ-PJH Document 1 Filed 04/16/19 Page 2 of 6 PageID #: 2




who are all justly and truly indebted unto your petitioner, individually, jointly and

in solido, for the following reasons, to-wit:

                                          2.

      This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1332,

Diversity of Citizenship.

                                          3.

      The matter in controversy exceeds the sum or value of $75,000, exclusive of

interests and costs.

                                          4.

      This is an action for damages arising out of a collision which occurred on

interstate I-10, East Baton Rouge Parish, Louisiana on October 27, 2018.

                                          5.

      On or about October 27, 2018, plaintiff, JESUS FONTANILLA, was

operating his 2010 Freightliner Tractor and Trailer while traveling East on I-10 in

slow moving traffic. While driving in a safe and controlled manner in congested

traffic, plaintiff’s tractor trailer rig was suddenly and violently rammed in the back

by a 2018 Freightliner Tractor and Trailer operated by defendant, DONALD

YOUNG, who was then working in the course and scope of his employment with

defendant, J.B. HUNT TRANSPORT, INC., which also was the owner the tractor


                                           2
Case 6:19-cv-00481-MJJ-PJH Document 1 Filed 04/16/19 Page 3 of 6 PageID #: 3



trailer rig being operated by DONALD YOUNG which he was operating with the

knowledge and permission of J.B. HUNT TRANSPORT.

                                          6.

      The force of the impact from the rear-end crash caused plaintiff, JESUS

FONTANILLA to suffer injury to his neck and back which have required medical

treatment.

                                          7.

      Petitioner alleges on information and belief that at the time of this accident,

the 2018 Freightliner Tractor and Trailer was owned by Defendant, J.B. HUNT

TRANSPORT, INC. and operated by Defendant, DONALD YOUNG.

                                          8.

      The said accident was caused by the negligence of Defendants which

consisted primarily of, but not limited to, the following acts of omissions and/or

commissions, to-wit:

      a.     Failing to keep a proper lookout;

      b.     Failing to stop;

      c.     Failing to keep a safe distance between the Young vehicle and the
             Fontanilla vehicle;

      d.     Operating his vehicle at an excessive rate of speed under existing
             circumstances;

      e.     Carelessly operating a motor vehicle;

                                          3
Case 6:19-cv-00481-MJJ-PJH Document 1 Filed 04/16/19 Page 4 of 6 PageID #: 4



      f.   Driving while inattentive and/or distracted;

      g.   Failing to properly maintain the vehicle driven by Donald Young;

      h.   Failing to see what he should have seen and do what he should have done
           in order to prevent the accident sued upon herein; and

      i.   Other acts of negligence to be shown at the trial on the merits.

                                         9.

      At the time of the accident, DONALD YOUNG was an employee of J.B.

HUNT TRANSPORT, INC. and was in the course and scope of his employment

with J.B. HUNT TRANSPORT, INC. Under Louisiana Law, J.B. HUNT

TRANSPORT, INC. is vicariously liable for the negligence of DONALD YOUNG.

                                        10.

      It is alleged that defendants, J.B. HUNT TRANSPORT, INC. and DONALD

YOUNG, were covered by a policy of automobile liability issued by defendant, ACE

AMERICAN INSURANCE COMPANY.                      Pursuant to LSA-R.S. 22:1269,

petitioner is entitled to and does hereby assert this direct action against ACE

AMERICAN INSURANCE COMPANY.

                                        11.

      As a result of the accident, petitioner, JESUS FONTANILLA, is entitled to

recover damages for past and future mental and physical pain and suffering; past and

future medical expenses; past and future loss of wages; pass and future loss of


                                         4
Case 6:19-cv-00481-MJJ-PJH Document 1 Filed 04/16/19 Page 5 of 6 PageID #: 5



earning capacity; past and future loss of enjoyment of life; past and future disability

and impairment; and past and future mental anguish and property damage to his

vehicle, all to his detriment in the amount of TWO MILLION AND NO/100

($2,000,000.00) Dollars inclusive of interest and cost.

                                         12.

      Complainant, MAIDELYN CARRERA, has suffered and will continue to

suffer loss of society and services as a result of the accident and injuries sustained

by her husband, JESUS FONTANILLA, for which defendants are responsible.

MAIDELYN CARRERA alleges the damages to be in the sum of ONE HUNDRED

THOUSAND AND NO/100 ($100,000.00) DOLLARS.

      WHEREFORE, petitioners, JESUS FONTANILLA and MAIDELYN

CARRERA pray that defendants, J.B. HUNT TRANSPORT, INC., ACE

AMERICAN INSURANCE COMPANY and DONALD YOUNG be served with a

copy of this Petition and duly cited to appear and answer same, and that after due

proceedings had, there be judgment herein in favor of petitioners, JESUS

FONTANILLA and MAIDELYN CARRERA, and against Defendants, J.B. HUNT

TRANSPORT, INC., ACE AMERICAN INSURANCE COMPANY and DONALD

YOUNG, in solido, in the amount of TWO MILLION ONE HUNDRED

THOUSAND AND NO/100 ($2,100,000.00) Dollars together with interest from

date of judicial demand until paid and for all costs of these proceedings, including

                                          5
Case 6:19-cv-00481-MJJ-PJH Document 1 Filed 04/16/19 Page 6 of 6 PageID #: 6



witness fees and expenses.

      PETITIONERS FURTHER PRAY for process in due form against

Defendants and for all general and equitable relief.

                                Respectfully submitted,


                                By:
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                                          6
